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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK


   Gina Barbara, Individually and on Behalf of All Others Similarly
   Situated,

                                          Plaintiff,                          2:24-cv-3775
                                                                              (NJC) (JMW)
                                   -v-

   Ivyrehab Peak Performance, LLC,

                                          Defendant.


                                               ORDER

  NUSRAT J. CHOUDHURY, United States District Judge:

         The Court has been advised that all claims asserted herein have been settled in principle.

  (ECF No. 19.) The above-entitled action is therefore DISMISSED and discontinued without

  costs, and without prejudice to the right to reopen the action within forty-five days of the date

  of this Order if the settlement is not consummated.

         To be clear, any application to reopen must be filed by the aforementioned deadline; any

  application to reopen filed thereafter may be denied solely on that basis. Further, requests to

  extend the deadline to reopen are unlikely to be granted.

         If the parties wish for the Court to retain jurisdiction for the purposes of enforcing any

  settlement agreement, they must submit the settlement agreement to the Court by the deadline to

  reopen to be “so ordered” by the Court. Per the Court’s Individual Rule 10, unless the Court

  orders otherwise, the Court will not retain jurisdiction to enforce a settlement agreement unless it

  is made part of the public record.
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         Any pending motions are dismissed as moot. All conferences are cancelled. The Clerk of

  Court is directed to close the case.

  Dated: Central Islip, New York
         March 18, 2025

                                                          /s/ Nusrat J. Choudhury
                                                       NUSRAT J. CHOUDHURY
                                                       United States District Judge




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